     Case 2:22-cv-01916-FWS-GJS   Document 129     Filed 06/02/25   Page 1 of 9 Page ID
                                       #:2617



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14                    UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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16
       ABDIRAHMAN ADEN KARIYE,                  CASE NO. 2:22-CV-1916-FWS-GJS
17     et al.,
18
            Plaintiffs,                         DEFENDANTS’ APPLICATION
19                                               RE SEALING DEFENDANTS’
       v.                                       OPPOSITION TO MOTION TO
20
                                                 COMPEL REGARDING LAW
21     ALEJANDRO MAYORKAS,                      ENFORCEMENT PRIVILEGE
22     Secretary of the U.S. Department of
       Homeland Security, in his official
23     capacity, et al.,
24
            Defendants.
25
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     Case 2:22-cv-01916-FWS-GJS      Document 129     Filed 06/02/25   Page 2 of 9 Page ID
                                          #:2618



 1          TO THE COURT AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that, pursuant to Local Rule 79-5.2.2 of the Local
 3    Rules of the United States District Court for the Central District of California, and
 4    as otherwise authorized by law, Defendants file conditionally under seal an
 5    accompanying exhibit in support of their Opposition to Plaintiffs’ Motion to Compel
 6    Regarding the Law Enforcement Privilege that contains information that Defendants
 7    contend should be filed under seal. That exhibit, a TECS record, includes personal
 8    identifying information (“PII”) of Defendants’ employees as law enforcement
 9    sensitive information that Defendants submit should be redacted.
10          On May 30, 2025, the parties met and conferred to discuss documents and
11    information Defendants had designated as Confidential under the Protective Order
12    in this matter and in “an attempt to eliminate or minimize the need for filing under
13    seal by means of redaction.” Local Rule 79-5.2.2(b). Defendants contend, as
14 addressed in the Memorandum of Point and Authorities below, that the Court should
15 permit Defendants to seal the PII of the U.S. Customs and Border Protection
16 (“CBP”) officers and the law enforcement sensitive information highlighted in
17 Defendants’ accompanying exhibit. Plaintiffs have represented that they oppose
18    these redactions for the reasons they previously briefed before the Court, see, e.g.,
19 ECF No. 107, but they have represented that they will not be filing an opposition to
20 this application. Defendants have attached to this application the TECS record with
21 their proposed redactions highlighted, and they have separately filed their proposed
22 redacted version on the public docket.
23 Dated: June 2, 2025
24                                           Respectfully submitted,
25
26                                          YAAKOV M. ROTH
                                            Acting Assistant Attorney General
27                                          Civil Division

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     Case 2:22-cv-01916-FWS-GJS   Document 129   Filed 06/02/25   Page 3 of 9 Page ID
                                       #:2619



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     Case 2:22-cv-01916-FWS-GJS       Document 129      Filed 06/02/25   Page 4 of 9 Page ID
                                           #:2620



 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2          In support of Defendants’ Opposition to Plaintiffs’ Motion to Compel
 3 Regarding the Law Enforcement Privilege, Defendants seek to file a redacted
 4 version of a TECS record regarding one of the incidents alleged in Plaintiffs’ First
 5 Amended Complaint. Specifically, Defendants seek to redact and file under seal
 6 personal identifying information (PII) of Defendants’ employees who are lower-
 7 level U.S. Customs and Border Protection (“CBP”) officers and data fields. For the
 8 foregoing reasons herein, good cause1 exists to seal this narrow set of information
 9 the Court should grant the application to seal.
10                            LEGAL STANDARD
11          “[C]ourts have recognized a ‘general right to inspect and copy public records
12    and documents, including judicial records and documents.’” Kamakana v. City &
13    Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner
14    Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978)). So “[a] party seeking to seal a
15    judicial record then bears the burden of overcoming this strong presumption by
16    meeting the “compelling reasons” standard.” Id. However, the “‘good cause’
17 standard of Rule 26(c) will suffice] to warrant preserving the secrecy of sealed
18 discovery material attached to non-dispositive motions.” Id. at 1180 (cleaned up);
19 see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1099 (9th Cir.
20 2016) (describing the rule as asking “whether the motion at issue is more than
21 tangentially related to the underlying cause of action).
22                                  ARGUMENT
23       A. Good Cause Exists to Seal the PII of CBP Officers Who Are Low-Level
24          Government Employees.
25
26          1
               As the Court has already concluded, the lower good cause standard of Rule
      26(c) is applicable to this application to file under seal materials for the purposes of
27
      discovery. See ECF No. 117 at 2.
                                                 3
     Case 2:22-cv-01916-FWS-GJS       Document 129      Filed 06/02/25   Page 5 of 9 Page ID
                                           #:2621



 1          Personal identifying information is a textbook example of material that may
 2    justifiably be sealed as this Court previously observed in its order on a prior
 3    application to seal in this case. ECF No. 117 at 2. Before the Court then was a request
 4    to seal the PII of the CBP officers that had conducted the secondary inspection, and
 5    Defendants once again seek to file under seal that same PII. Defendants respectfully
 6    submit that the Court should grant that request.
 7          A long line of cases supports protecting the confidentiality of law-
 8 enforcement personnel’s identifying information to protect them from harassment,
 9 annoyance, or threats. See Lesar v. U.S. Dep't of Just., 636 F.2d 472, 487 (D.C. Cir.
10    1980) (“As several courts have recognized, [FBI] agents have a legitimate interest
11    in preserving the secrecy of matters that conceivably could subject them to
12    annoyance or harassment in either their official or private lives.”); Creer v. City of
13    Vallejo, No. 214CV1428JAMDBPS, 2016 WL 5897748, at *1 (E.D. Cal. Oct. 11,
14    2016) (“Defendants shall redact the names of any Vallejo Police Department
15    Officers and replace those names with number identifiers.”); Zhao v. City of New
16    York, No. 07 CIV. 3636 LAK/MHD, 2007 WL 4205856, at *2 (S.D.N.Y. Nov. 21,
17    2007) (“Defendants may redact the names and other identifying information of any
18    non-party Police Department employees, but not those of the complainants.”).
19          Here, disclosure of the law enforcement officers’ PII—their names—“creates
20    a safety threat and risks unwarranted attribution and attention to the employee.” ECF
21    No. 112 ¶ 7. 2 Indeed, “[t]hese risks are not merely speculative, they have actually
22    occurred to DHS employees and are real.” Id. ¶ 10; see also id. ¶ 11 (“CBP
23 employees, including CBP officers like the ones whose names are at issue here, have
24
25          This is a declaration of Matthew S. Davies, Executive Director,
            2
   Admissibility and Passenger Programs, at CBP’s Office of Field Operations
26 (“OFO”), previously provided in support of Defendants’ prior request to seal the PII
   of the line level CBP officers. As indicated in Defendants’ highlighted exhibit,
27 Defendants do not seek to seal the names of higher-level government officials whose
   names would be publicly known.
                                                4
     Case 2:22-cv-01916-FWS-GJS     Document 129     Filed 06/02/25   Page 6 of 9 Page ID
                                         #:2622



 1    been subject to harassment, discrimination, and have received threats of physical
 2    harm solely because of their employment at CBP.”).
 3          Under these circumstances, good cause exists to seal the PII of government
 4 employees at issue. See Kamakana, 447 F.3d at 1180 (noting that under Fed. R. Civ.
 5 P. 26(c) good cause exists when required to “protect a party or person from
 6 annoyance, embarrassment, oppression, or undue burden or expense”).
 7    B. Both Good Cause and Compelling Reasons Exist to Seal the Limited
 8       Law Enforcement Sensitive Information That Defendants Seek to Seal
 9          Defendants also seek to seal a small amount of sensitive law enforcement
10 information in the same TECS record.
11          Courts have recognized that “compelling reasons” exist to seal sensitive law
12 enforcement information that would otherwise be disclosed in public filings. See
13 United States v. Aguilar-Chavez, No. 113-CR-00218, 2022 WL 4472625, at *1 (E.D.
14 Cal. Sept. 26, 2022) (compelling reason to seal exhibit that “contain[d] information
15 pertaining to law enforcement systems utilized in the effort to apprehend fugitive
16 defendants”); see also Morton v. Cnty. of San Diego, No. 21-CV-1428, 2024 WL
17 3205395, at *1 (S.D. Cal. June 26, 2024) (finding that “compelling reasons exist” to
18 seal exhibits “consist[ing] of confidential law enforcement documents and reports”).
19          So too here. The public disclosure of the information that Defendants seek to
20 seal information “could enable individuals to alter their patterns of conduct, adopt
21 new methods of operation, and effectuate other countermeasures to circumvent the
22 inspection process” or “allow for bad actors to modify their behavior upon
23 encountering CBP.” ECF No. 112 ¶ 15. This, in turn, could “undermine law
24 enforcement techniques, and, consequently, the law.”         Id. This showing goes
25 beyond “[s]imply mentioning a general category of privilege,” Kamakana, 447 F.3d
26 at 1184, and instead provides specific and compelling reasons to seal the
27 information.

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     Case 2:22-cv-01916-FWS-GJS      Document 129     Filed 06/02/25   Page 7 of 9 Page ID
                                          #:2623



1           Moreover, Defendants have only sought to seal certain field codes, and so
2     Defendants’ sealing request would satisfy the higher compelling reasons test as the
3     sealing is “narrowly tailored to only sealable material.” Nightingale, 507 F. Supp.
4     3d at 1213. But, in any event, the law enforcement interests at issue here certainly
5     satisfy the lower “good cause” standard. See Kamakana, 447 F.3d at 1180 (noting
6     that under Fed. R. Civ. P. 26(c) good cause exists when required to “protect a party
7     or person from annoyance, embarrassment, oppression, or undue burden or
8     expense”).
9                                      CONCLUSION
10          For the foregoing reasons, Defendants respectfully request that the Court
11    GRANT the Application to Seal the limited information that Defendants seek to seal.
12    Dated: June 2, 2025
13                                          Respectfully submitted,
14
15                                         YAAKOV M. ROTH
                                           Acting Assistant Attorney General
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     Case 2:22-cv-01916-FWS-GJS   Document 129   Filed 06/02/25   Page 8 of 9 Page ID
                                       #:2624



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     Case 2:22-cv-01916-FWS-GJS    Document 129     Filed 06/02/25   Page 9 of 9 Page ID
                                        #:2625



1                           CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Defendants, certifies that this brief
3     contains 1,052 words, which complies with the word limit of L.R. 11-6.1.
4
5     Dated: June 2, 2025                              /s/ Yuri S. Fuchs
6                                                      Yuri S. Fuchs
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